JUDGMENT

UNITED STATES COURT OF APPEALS
FOR THE NINTH CIRCUIT

NO. 03-35368 ~
CT/AG#: CV-03-05062-FDB

WASHINGTON PROTECTION AND ADVOCACY SYSTEM, a Washington—fucc
non-profit corporation

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Plaintiff - Appellant AUG 92 2003 |

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Vv. WESTERN OSTRICT OF vaashings FAN AT TACOMA

semyry,
EVERGREEN SCHOOL DISTRICT; RICHARD MELCHING, in his official
capacity as the Superintendent of the Evergreen School
District
Defendants - Appellees
APPEAL FROM the United States District Court for the
Western District of Washington (Tacoma}
THIS CAUSE came on to be heard on the Transcript. of the

Record from the United States District Court for the

Western District of Washington (Tacoma) and was duly submitted.

ON CONSIDERATION WHEREOF, It is now here ordered and
adjudged by this Court, that the judgment of the said

District Court in this cause be, and hereby is AFFIRMED.

Filed and entered July 24, 2003 COSTS TAXED

 

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03-C'V-05062-APP Deputy Clerk.

 

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. BILL OF COSTS
NOTE If you wish to file a bill of costs, it MUST be submitted on this form and filed, with the clerk, with proof of service,
My within 14 days of the date of entry of judgment, and in accordance with Circuit Rule 39-1. A late bill of costs
ay must be accompanied by a motion showing good cause. Please refer to FRAP 39, 28 U.S.C. § 1920, and Circuit Rule 39-1
ww. when preparing your bill of costs.
A Wash. Protection, et al. y. Evergreen Sch. Dist., et al. cano 03-35368
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\ The Clerk is requested to tax the following costs against; “4shington Protection, et al.
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Other: Any other requests must be accompanied by a statement explaining why the item(s)
should be taxed pursuant to Circuit Rule 39-1. Additional items without such supporting
statements will not be considered.

Attorneys’ fees cannot be requested on this form.

* If more than 7 excerpts or 20 briefs are requested, a statement explaining the excess number must be submitted.
* Costs per page may not exceed 20¢ or actual cost, whichever is less. Circuit Rule 39-1,

l, i , swear under penalty of perjury that the services for which costs are taxed were actually and necessarily performed, and

Signature: QE Date: =| 40 | oo

Name of Counsel (printed or typed) Christine Gardiner

8-18-03

Attorney for: Evergreen

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Date: Costs are taxed in the

 

 

Clerk of Court

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CERTIFICATE OF SERVICE

The undersigned makes the following statement under penalty of perjury

under the laws of the State of Washington:

That she is a citizen of the United States of America; that she is over the

age of 18 years, not a party to the above-entitled action and competent to be a

witness therein; that on the 30 day of July, 2003, a copy of Bill of Costs; and

Certificate of Service was caused to be served upon the following in the manner

indicated:

Tara Herival

David Girard

Washington Protection and
Advocacy Sytem

180 West Dayton, Suite 102

Edmonds, WA 98020

Office of the Clerk

United States Court of
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San Francisco, CA 94119-3939

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DATED this 30" day of July, 2003, at Seattle, Washington.

 

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